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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 24-7021                                                 September Term, 2023
                                                                        1:21-cv-03354-BAH
                                                   Filed On: February 22, 2024 [2041813]
Ruby Freeman and Wandrea' Moss,

               Appellees

       v.

Rudolph W. Giuliani,

               Appellant

                                         ORDER

      It is ORDERED, on the court's own motion, that this case be held in abeyance
pending further order of the court.

        The Clerk is directed to transmit a copy of this order to the district court. The
district court is requested to notify this court promptly upon the conclusion of its
proceedings.

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Hannah N. Gorman
                                                          Deputy Clerk
